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      Defendant United States of America.
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11                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12

13 CALIFORNIA COALITION FOR WOMEN                              CASE NO. 4:23-CV-04155-YGR
   PRISONERS; et. al.,
14                                                             DECLARATION OF MADISON L.
                    Plaintiffs                                 MATTIOLI IN SUPPORT OF UNITED
15            v.                                               STATES’ RESPONSE TO BELLHOUSE
                                                               MOTION TO COMPEL
16 UNITED STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS; et. al.,                                 Judge:         Hon. Yvonne Gonzalez Rogers
17
                Defendants.                                    Trial Date:    June 23, 2025
18

19 I, MADISON L. MATTIOLI, declare as follows:

20 1. My name is Madison Mattioli, and I am an attorney of record in the above captioned case

21        representing Federal Defendants and Defendant United States of America. I have personal

22        knowledge of the facts set forth herein and if called as a witness I could competently so testify. I

23        make this declaration in support of the United States’ Response to John R. Bellhouse’s Motion to

24        Compel.

25 2. I personally contacted John Russell Bellhouse by telephone through his Unit Manager at the Federal

26        Correctional Institution in Oakdale, LA, on November 1, 2024.

27 3. I informed Bellhouse that discovery in his active civil cases has been stayed since their respective

28        dates of filing through the current date, and that it was recently extended via sealed Order through
     DECLARATION OF MADISON MATTIOLI
     ISO U.S. R ESP. TO B ELLHOUSE MTN TO C OMPEL

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 1        the end of November.

 2 4. Bellhouse expressed concern that he could not follow his cases because he believed he had not been

 3        served with copies of any filings or Orders and does not have PACER access in prison.

 4 5. I explained to Bellhouse that the only case in which discovery has not been stayed is the injunctive

 5        class action, a case in which he is not an active participant. Because of this, he has not been served

 6        with copies of filings in that action.

 7 6. I offered to mail to him the docket sheets from each of his active civil cases so he could review the

 8        activity.

 9 7. Additionally, I offered to ascertain and provide him with updates on his FOIA requests to the

10        Federal Bureau of Investigation (FBI) and the Bureau of Prisons (BOP).

11 8. On November 4, 2024, I received an email from AUSA Patrick J. Conti containing two attachments

12        sent to him from FBI Assistant General Counsel Emily K. Prestopnik. A true and accurate copy of

13        these attachments are included as Exhibits A and B, respecitvely.

14 9. On October 30, 2024, I received an email from BOP Attorney Advisor Kristi Sutton containing an

15        attachment sent to her from BOP FOIA Public Liaison, Kara Christenson. A true and accurate copy

16        of this attachment is included as Exhibit C.

17 10. On November 5, 2024, I received an email from BOP FOIA Public Liaison, Kara Christenson

18        containing one attachment. A true and accurate copy of this attachment is included as Exhibit D.

19 11. In light of the foregoing information I provided to Bellhouse, he indicated that he did not oppose the

20        government’s request to stay consideration of his motion to compel until the stay of the cases has

21        been lifted.

22 12. If the issue remains live once the stay of the cases has been lifted, the parties agreed to file a joint

23        statement in accordance with this Court’s Civil Standing Order.

24 13. I contacted Bellhouse’s Unit Manager at the Federal Correctional Institution in Oakdale, LA, and

25        asked that Bellhouse be provided a copy of the United States’ Response to his Motion to Compel to

26        review and sign.

27 14. Bellhouse’s Unit Manager returned a signature page with Bellhouse’s signature to me via email on

28        November 5, 2024.
     DECLARATION OF MADISON MATTIOLI
     ISO U.S. R ESP. TO B ELLHOUSE MTN TO C OMPEL

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 1 15. These documents were mailed along with all copies of the United States’ Response to Bellhouse’s

 2        Motion to Compel to Bellhouse at the FCI in Oakdale, LA, via First Class Mail on November 6,

 3        2024, marked LEGAL MAIL OPEN ONLY IN PRESENCE OF INMATE.

 4             I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and
 5
     correct. Executed this 6th day of November 2024, at Helena, MT.
 6

 7                                                       By:   /s/ Madison L. Mattioli
                                                               MADISON L. MATTIOLI
 8                                                             Assistant United States Attorney
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     DECLARATION OF MADISON MATTIOLI
     ISO U.S. R ESP. TO B ELLHOUSE MTN TO C OMPEL

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